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                       EXHIBIT 4
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From:               Smith, Karina
Sent:               Wednesday, June 3, 2020 3:00 PM
To:                 Ives, Erik J.; Vanderporten, Steven L.; Koropp, David E.; sreynolds@foxswibel.com
Cc:                 Swenson, Jon; Guy, Hop; Wilson, Andrew; jpfieweger@michaelbest.com;
                    agollwitzer@michaelbest.com
Subject:            Ubiquiti v. Cambium et al. - Claw back and de-designation


Hi Erik,

I write to reiterate Cambium’s request to claw back Exhibit A3 (CMBM‐00166669), as I understand you requested on
yesterday’s meet and confer.

I also write to notify you that Cambium agrees to de‐designate the following documents as not confidential:
      CMBM‐00131291
      CMBM‐00131292
      CMBM‐00131293
      CMBM‐00035656
      CMBM‐00125623
      CMBM‐00159176
      CMBM‐00159351
      CMBM‐00025253
      CMBM‐00034638
      CMBM‐00035343
      CMBM‐00038864
      CMBM‐00052319
      CMBM‐00041518
      CMBM‐00105048
      CMBM‐00125728
      CMBM‐00159617
      CMBM‐00159935
      CMBM‐00160327
      CMBM‐00173406
      CMBM‐00012679

Best,
Karina

Karina Smith | Baker Botts L.L.P. 
1001 Page Mill Road, Building One | Palo Alto, CA 94304
650.739.7534 office | 650.739.7634 fax




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